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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

 ROEL DELAGARZA HINOJOSA AND §
 MARTHA BARRERA HINOJOSA,    §
      Plaintiffs,            § CIVIL ACTION NO.
                             § 7:23-CV-00443-RHH
 V.                          § JURY TRIAL DEMANDED
                             §
 EQUISOLAR, INC. AND         §
 LORENZO MEZI,               §
      Defendants.            §

                    DEFENDANT EQUISOLAR’S REPLY IN SUPPORT
                     OF ITS MOTION TO COMPEL ARBITRATION


TO THE HONORABLE COURT:

        COMES NOW, DEFENDANTS, EQUISOLAR, INC., in the above-styled matter and

files this Defendant Equisolar, Inc.’s Reply in Support of its Motion to Compel Arbitration

(“Reply”). In support thereof, Defendant would respectfully show unto the Court the following:


                                        INTRODUCTION

1.      This case involves a home improvement agreement between Plaintiffs Roel Delagarza

Hinojosa and Martha Barrera Hinojosa (“Plaintiffs” or “Mr. and Mrs.                  Hinojosa”) and

Defendant Equisolar, Inc. (“Defendant” or “Equisolar”) to install solar panels on Plaintiffs’

residence. Defendant completed the installation on Plaintiffs’ home, as per the agreement. After

Defendant fully performed under the contract, Plaintiffs initiated the instant lawsuit.

2.      It would be improper for this court to reach the merits of Plaintiff’s claims because it is not

the proper venue for the resolution of this dispute. The arbitration provision is extremely broad,

encompassing all of Plaintiffs’ claims. The parties’ arbitration provision also delegated



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arbitrability issues to the arbitrator by the broad, unconditional language of the clause itself, and

the incorporation of JAMS arbitration rules into the agreement.

3.      The parties’ arbitration clause is substantively valid and enforceable because JAMS

arbitration is not cost prohibitive when considering savings on discovery costs, the availability of

the same claims in arbitration, and the $1,000,000 in damages sought by the plaintiff in this

contingency fee case.

4.      The parties’ arbitration clause is procedurally valid and enforceable because the Plaintiff

speaks English, the arbitration clause was conspicuous, and no facts are before the court that the

defendant misrepresented the arbitration clause itself.


                                  FACTUAL BACKGROUND

5.      Equisolar is a renewable energy company that has been operating throughout California,

Florida, Nevada, Texas and Utah for over 25 years. Equisolar provides high quality products and

renewable energy solutions to its residential, commercial, government, and nonprofit clientele.

Equisolar assists their customers in upgrading their electrical systems to benefit their needs as well

as the environment’s.

6.      On April 8, 2021, Plaintiffs entered into a contractual agreement with Equisolar for the sale

and installation of home solar systems (collectively, the “Agreement”). Def.’s Mot. Compel, Ex

A. The agreement contains an arbitration clause, which states, in relevant part:

        PLEASE READ THIS SECTION CAREFULLY. ARBITRATION REPLACES THE
        RIGHT TO GO TO COURT, INCLUDING THE RIGHT TO A JURY AND THE RIGHT
        TO PARTICIPATE IN A CLASS ACTION OR SIMILAR PROCEEDING. IN
        ARBITRATION A DISPUTE IS RESOLVED BY AN ARBITRATOR INSTEAD OF A
        JUDGE OR JURY.…

        We agree that any dispute, claim or disagreement between us (a “Dispute”) shall be
        resolved exclusively by arbitration….


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         The arbitration, including the arbitrator, will be administered by JAMS, under its
         Streamlined Arbitration Rules (the “Rules”) by a single neutral arbitrator agreed on by the
         parties within thirty (30) days of the commencement of the arbitration. The arbitration shall
         be governed by the Federal Arbitration Act (Title 9 of the U.S. Code)....

         The arbitrator shall have the authority to award any legal or equitable remedy or relief that
         a court could order or grant under this agreement….

         BECAUSE YOU AND WE HAVE AGREED TO ARBITRATE ALL DISPUTES,
         NEITHER OF US WILL HAVE THE RIGHT TO LITIGATE THAT DISPUTE IN
         COURT, OR TO HAVE A JURY TRIAL ON THAT DISPUTE, OR ENGAGE IN
         DISCOVERY EXCEPT AS PROVIDED FOR IN THE RULES.

Def.’s Mot. Compel, Ex. A ¶ 15.

7.       The Agreement also included a clause that Texas law would govern the Agreement.

         Def.’s Mot. Compel, Ex. A ¶ 13.

8.       JAMS’ Rules read in relevant part:

                Jurisdictional and arbitrability disputes, including disputes over the
                formation, existence, validity, interpretation or scope of the
                agreement under which Arbitration is sought, and who are proper
                Parties to the Arbitration, shall be submitted to and ruled on by the
                Arbitrator. The Arbitrator has the authority to determine jurisdiction
                and arbitrability issues as a preliminary matter.

Ex. B at 12-13. A true and correct copy of the JAMS’ Rules is attached hereto as

Exhibit B.

9.       Discovery in the simplest litigation can easily exceed $10,000. Ex. C. A true and correct

copy of Affidavit of L. Mousilli is attached hereto as Exhibit C. JAMS rules greatly simplify

discovery compared to litigation, resulting in significant savings. Ex. B.

10.      A final arbitration hearing of this case would likely not take more than one day. Ex. C

(Affidavit of L. Mousilli). The arbitrator’s rate will likely be between $400.00 and $450.00 per



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hour. One of the most cost-effective aspects of arbitration–saving discovery costs. Ex. B. JAMS

rules greatly simplify discovery compared to litigation, resulting in significant savings. Ex. B.

11.      Plaintiffs’ complaint and Response to this motion contain no specific facts concerning their

ability to afford either litigation or arbitration. Compl.; Pl.’s Resp. Mot. Compel, Ex. E. Instead,

the Plaintiffs’ response and affidavit includes conclusory statements that “Plaintiffs cannot afford

these costs. Plaintiffs do not have any disposable money to pay for arbitration.” Pl.’s Resp. Mot.

Compel, Ex. E.

12.      Plaintiffs’ complaint, response to this motion, and affidavit also lack any evidence that the

Plaintiffs have made any effort to reduce the likely charges through requests for fee waivers, pro

bono arbitrators, or even simply requesting a one arbitrator panel. Compl.; Pl.’s Resp. Mot.

Compel, Ex. E.

13.      Plaintiffs have presented no specific facts related to the circumstances surrounding the

adoption of the arbitration clause, specifically. Compl.; Pl.’s Resp. Mot. Compel, Ex. E. Plaintiff’s

complaint, response to this motion, and his affidavit contain facts related to the circumstances of

the larger “container” agreement. Compl.; Pl.’s Resp. Mot. Compel, Ex. E. Plaintiffs’ allege no

specific facts that support the contention that Defendant hid or misrepresented the arbitration

clause in particular, and instead only make a bald, conclusory assertion. Compl.; Pl.’s Resp. Mot.

Compel ¶20.

14.      There is no indication that the Plaintiff was functionally illiterate, was infirm from age, or

was otherwise unsophisticated.

15.      There is no evidence that at the time of contracting the Plaintiffs asked questions, requested

explanations, or indicated they were uneducated.



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                              ARGUMENTS AND AUTHORITIES


I.       THE LAW SETS A DOUBLY HIGH BAR FOR PLAINTIFFS ARGUING AN
         ARBITRATION CLAUSE IS INVALID DUE TO UNCONSCIONABILITY, AND
         STRONGLY CAUTIONS AGAINST SETTING THE UNCONSCIONABILITY
         BAR TOO LOW.

16.      There are two types of unconscionability–substantive and procedural. In re Halliburton,

80 S.W.3d 566, 571 (Tex. 2002). Substantive unconscionability refers to the fairness of the

arbitration provision itself. Service Corp. Intern. v. Lopez, 162 S.W.3d 801, 809 (Tex. App. Corpus

Christi 2005); In re Media Arts Group, Inc., 116 S.W.3d 900, 910 (Tex. App. Houston 14th Dist.

2003). Procedural unconscionability focuses the circumstances surrounding the adoption of the

arbitration agreement. See Royston, 467 S.W.3d at 499; Ridge Nat. Res., L.L.C. v. Double Eagle

Royalty, L.P., 564 S.W.3d 105, 132 (Tex. App.--El Paso 2018); Delfingen US-Tex., L.P. v.

Valenzuela, 407 S.W.3d 791, 797-98 (Tex. App.--El Paso 2013, no pet.) (agreement not enforced).

17.      The bar for plaintiffs asserting unconscionability is doubly high. First, Texas’ strong policy

in favor of enforcement of arbitration clauses sets a high bar for plaintiffs seeking to avoid an

agreement to arbitrate, generally. Jack B. Anglin Co. v. Tipps, 842 S.W.2d 266, 268 (Tex. 1992)

Once the existence of an arbitration agreement has been established, a presumption attaches

favoring arbitration. Henry v. Gonzalez, 18 S.W.3d 684, 689 (Tex. App.–San Antonio 2000, pet.

dism'd by agr.).

18.      Second, the bar to invalidate an arbitration clause on the specific basis of unconscionability

is even higher. Ridge Nat. Resources, L.L.C. v. Double Eagle Royalty, L.P., 564 S.W.3d 105, 131

(Tex. App.--El Paso 2018); Besteman v. Pitcock, 272 S.W.3d 777, 789 (Tex.App.—Texarkana

2008, no pet.). Courts focus on just the agreement to arbitrate, not the contract as a whole. In re

Olshan Found. Repair Co., LLC, 328 S.W.3d 883, 898 (Tex. 2010); In re FirstMerit Bank, N.A.,


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52 S.W.3d 749, 756 (Tex.2001) (orig.proceeding) (stating that plaintiffs' defenses of

unconscionability, duress, fraudulent inducement, and revocation “must specifically relate to the

Arbitration Addendum itself, not the contract as a whole, if they are to defeat arbitration”). Absent

“shocking,” “gross,” “irrational” disparities in the arbitration clause itself, an arbitration clause is

valid and enforceable. Bonded Builders Home Warranty Association of Texas, Inc. v. Smith, 488

S.W.3d 468, 483 (Tex. App. Dallas 2016). The totality of the circumstances surrounding the

negotiations must be sufficiently shocking that the court is compelled to intercede. ReadyOne

Industries, Inc. v. Flores, 460 S.W.3d 656, 667 (Tex. App. El Paso 2014). The agreement to

arbitrate must be “so one-sided, with so gross a disparity in the values exchanged, that no rational

contracting party would have entered the contract.” Hous. AN USA, LLC v. Shattenkirk, 669

S.W.3d 392, 395 (Tex. 2023) (quoting In re Olshan Foundation Repair Co., LLC, 828 S.W.3d

883, 892 (Tex. 20100). Put another way, so long as the arbitral forum is an adequate (as opposed

to ideal) and accessible substitute to litigation, the arbitration clause is valid and enforceable.

Lennar Homes of Texas Inc. v. Rafiei, --- S.W.3d ---- , 2-3 (2024) (2024 WL 1470909).

19.      Adding to this is the caution the Texas Supreme Court requires when plaintiffs seek to

invalidate arbitration clauses by arguing unconscionability. “We should be wary of setting the bar

for holding arbitration clauses unconscionable too low.” In re Olshan, 828 S.W.3d at 892-893.

“Courts should also use care not to intrude upon arbitral jurisdiction under the guise of an

unconscionability defense.” Venture Cotton Coop. v. Freeman, 494 S.W.3d 186, 232 (Tex. App.—

Eastland 2015, no pet.).

20.      Plaintiff attempts to turn the law surrounding interpretation of arbitration provisions on its

head by referring to general rules of contract interpretation, instead of the more specific rules

applicable to arbitration. Pl.’s Resp. Mot. Compel ¶ 10-12. As pointed out supra, Texas courts


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have a strong policy specific to such agreements and that policy favors interpretations that support

enforcement of the arbitration agreement.




II.      THE COURT MAY ONLY CONSIDER THE SUBSTANTIVE VALIDITY OF
         THE ARBITRATION CLAUSE ALONE, NOT THE ENTIRE CONTRACT,
         BECAUSE ARBITRABILITY HAS BEEN DELEGATED TO THE ARBITRATOR
         BY THE BROAD, UNCONDITIONAL LANGUAGE OF THE CLAUSE ITSELF,
         AND THE INCORPORATION OF JAMS ARBITRATION RULES INTO THE
         AGREEMENT.

21.      An arbitration provision can “delegate” unconscionability questions to the arbitrator. See

RSL Funding, LLC v. Newsome, 569 S.W.3d 116, 121 (Tex. 2018). In those situations, it is for the

arbitrator to determine the question of unconscionability, not the court; the court has no choice but

to compel arbitration with one explicitly “narrow” exception. See RSL Funding, 569 S.W.3d at

121; Shattenkirk, 669 S.W.3d at 397 (Tex. 2023). That narrow exception is “whether the party

opposing arbitration has proven that the cost of arbitrating this delegated threshold issue of

[substantive] unconscionability is excessive, standing alone, and prevents the party from

enforcing its rights.” (emphasis added). “In other words, [a plaintiff] must show that the delegation

provision[–as opposed to the entire arbitration provision–]is itself unconscionable.” See RSL

Funding, 569 S.W.3d at 121 (“When faced with [a delegation clause], courts have no discretion

but to compel arbitration unless the clause's validity is challenged on legal or public policy

grounds.”); Rent-A-Center, 561 U.S. at 68-71, 73-74 (holding that under the FAA, when an

arbitration agreement contains a delegation provision, unconscionability is for the arbitrator to

decide unless the delegation provision itself is specifically challenged as unconscionable). The

courts look at the cost of deciding only the substantive unconscionability of only the arbitration

clause, not the contract as a whole, and not even the procedural unconscionability of the arbitration

clause. See RSL Funding, 569 S.W.3d at 121; Rent-A-Center, 561 U.S. at 68-71, 73-74.

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22.      Delegation can happen in two ways. First, an arbitration provision can expressly delegate

arbitrability issues to the arbitrator through a broad wording. TotalEnergies E&P USA, Inc. v. MP

Gulf of Mexico, LLC, 667 S.W.3d 694, 702-03, 712-19 (2023); Jody James Farms, JV v. Altman

Grp., Inc., 547 S.W.3d 624, 631 (Tex. 2018); RSL Funding, 569 S.W.3d at 120. In this instance,

“the determination of whether parties have agreed to delegate arbitrability to an arbitrator is

governed by ‘ordinary state-law principles that govern the formation of contracts.’” TotalEnergies,

667 S.W.3d at 702-03 (2023) (citing First Options, 514 U.S. at 943, 944, 115 S.Ct. 1920, 115 S.Ct.

1920). “When interpreting a written contract, the prime directive is to ascertain the parties' intent

as expressed in the instrument.” URI, Inc. v. Kleberg Cnty., 543 S.W.3d 755, 757 (Tex. 2018).

“‘[O]bjective, not subjective, intent controls,’ so the focus is on the words the parties chose to

memorialize their agreement.” Id.

23.      Second, parties can delegate the arbitrability issue to the arbitrator by agreeing to specific

arbitration rules that call for such issues to be delegated. TotalEnergies, 667 S.W.3d at 708-12.

Examples include “the arbitration [is] to be conducted in accordance with the rules of the AAA,”

“the procedure of the arbitration proceedings shall be in accordance with the Commercial Rules of

the AAA,” and “the arbitrator ‘shall have the power to rule on his or her own jurisdiction, including

any objections with respect to the existence, scope, or validity of the arbitration agreement or to

the arbitrability of any claim or counterclaim.’” Id. at 709. These are AAA rules, but similar rules

have the same effect. Id. at 708.

24.      Turning to the present case, both methods of delegation apply. The parties’ arbitration

clause is broad and unqualified. “We agree that any dispute, claim or disagreement between us (a

“Dispute”) shall be resolved exclusively by arbitration.” Def.’s Mot. Compel, Ex. A ¶ 15.




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25.      In addition to this broad and unqualified expression that all matters will be decided by the

arbitrator, the arbitration clause confirms the intent of the parties by stating that they will have no

recourse to state or federal courts. “BECAUSE YOU AND WE HAVE AGREED TO

ARBITRATE ALL DISPUTES, NEITHER OF US WILL HAVE THE RIGHT TO LITIGATE

THAT DISPUTE IN COURT, OR TO HAVE A JURY TRIAL ON THAT DISPUTE, OR

ENGAGE IN DISCOVERY EXCEPT AS PROVIDED FOR IN THE RULES.” Def.’s Mot.

Compel, Ex. A ¶ 15.

26.      Plaintiff’s argument that the parties’ arbitration clause is narrow begs credulity and would

unmake the narrow/broad distinction the law recognizes. Plaintiff’s argument relies on importing

language from page 1 of the “container” contract that never appears in the arbitration clause itself,

which as a matter of law is considered a separate agreement and must be analyzed separately.

Plaintiff’s argument, if successful, would set a precedent where an arbitration clause could never

be considered broad simply because the subject matter of the container agreement would always

be shoehorned into the arbitration clause in every case as a matter of law.

27.      In addition, the parties specifically incorporated the JAMS rules into their agreement by

reference and the JAMS rules delegate arbitrability issues to the arbitrator with language almost

identical to the AAA rules. The contract states:

                The arbitration, including the selecting of the arbitrator, will be
                administered by JAMS, under its Streamlined Arbitration Rules (the
                "Rules") by a single neutral arbitrator agreed on by the parties within
                thirty (30) days of the commencement of the arbitration….

                The arbitrator shall have the authority to award any legal or
                equitable remedy or relief that a court could order or grant under this
                agreement.

Def.’s Mot. Compel, Ex. A ¶ 15

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 28.       JAMS’ Rules read in relevant part:

                  Jurisdictional and arbitrability disputes, including disputes over the
                  formation, existence, validity, interpretation or scope of the
                  agreement under which Arbitration is sought, and who are proper
                  Parties to the Arbitration, shall be submitted to and ruled on by the
                  Arbitrator. The Arbitrator has the authority to determine jurisdiction
                  and arbitrability issues as a preliminary matter.

 Ex. B at 12-13.

 29.       Together the incorporation of the JAMS Rules into the parties’ arbitration agreement and

 the JAMS Rules specific delegation of arbitrability issues to the arbitrator require this court to

 either grant Plaintiff’s motion, or alternatively, limit the scope of Defendant’s unconscionability

 argument to the substantive unconscionability of just the arbitration provision. That means that

 any analysis of costs needs to be limited to the cost of deciding the arbitrability issue alone. Since

 Plaintiff has presented no evidence limited to this scope, the parties should be compelled to

 arbitration.




III.       THE PARTIES’ ARBITRATION CLAUSE IS SUBSTANTIVELY VALID AND
           ENFORCEABLE BECAUSE JAMS ARBITRATION IS NOT COST
           PROHIBITIVE WHEN CONSIDERING DISCOVERY COSTS, THE
           AVAILABILITY OF THE SAME CLAIMS IN ARBITRATION, AND THE
           $1,000,000 IN DAMAGES SOUGHT BY THE PLAINTIFF IN THIS
           CONTINGENCY FEE CASE.

 30.       Substantive unconscionability refers to the fairness of the arbitration provision itself.

 Service Corp. Intern. v. Lopez, 162 S.W.3d 801, 809 (Tex. App. Corpus Christi 2005); In re Media

 Arts Group, Inc., 116 S.W.3d 900, 910 (Tex. App. Houston 14th Dist. 2003). An arbitration

 provision that allows an individual plaintiff to seek the same claims and remedies in arbitration as

 they would in litigation is valid and enforceable, i.e. not unconscionable. In re Odyssey Healthcare,

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Inc., 310 S.W.3d 419, 423 (Tex. 2010). An arbitration provision is valid and enforceable as long

as it is not shockingly one-sided in light of the parties' general commercial background and the

commercial needs of the particular case. In re Poly-America, L.P., 262 S.W.3d 337, 348 (Tex.

2008); In re Palm Harbor Homes, Inc., 129 S.W.3d 636, 645 (Tex. App. Houston 1st Dist. 2003);

AutoNation USA Corp. v. Leroy, 105 S.W.3d 190 (Tex. App. Houston 14th Dist. 2003).

31.     To determine whether an arbitral forum is an adequate substitute for litigation on the basis

of costs, courts consider (1) the claimant's ability to pay the arbitration fees and costs, (2) the

expected cost differential between arbitration and litigation and whether that differential is so

substantial that it deters the claimant from bringing its claims, and (3) the actual cost of arbitration

compared to the total amount of damages that the claimant is seeking. In re Olshan, 328 S.W.3d

at 893-94. A plaintiff also must prove their ability to afford litigation, but not arbitration. Lennar

Homes, --- S.W.3d at 2-3 (2024) (2024 WL 1470909) (citing Shattenkirk, 669 S.W.3d at 397).

32.     “The desire to avoid steep litigation expense—including the costs of longer proceedings,

more complicated appeals on the merits, discovery, investigations, fees, and expert witnesses—is

the purpose of arbitration in the first place.” In re Olshan, 328 S.W.3d at 894. One may not

“assume the most expensive possible scenario.” Id. at 897 (citation omitted). Studies have

confirmed the cost effectiveness of arbitration. 25 No. 08 Westlaw Journal Class Action 08. Data

showed that “[a]rbitration can be an efficient and "surprisingly affordable" forum for plaintiffs,”

following the most comprehensive study of arbitration costs to date. Id.


        Across the data set [of 41,000 cases], the study found that arbitrations wrap up, on
        average, in about 11 months. (Employment cases take the longest, and even they
        take just 14 months to reach a conclusion.) Plaintiffs' share of arbitration fees, on
        average, was $1,114, a "manageable" amount, according to Professors Horton and
        Chandrasekher, considering that arbitration fees can run into tens of thousands of
        dollars.



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       In JAMS employment proceedings, for instance, the average arbitrator's fee was
       more than $37,000 – but plaintiffs paid, on average, just $62. The median fee in
       cases that went to a final resolution was $0, which means, according to the law
       profs, that the majority of plaintiffs who fully prosecuted their claims paid nothing
       at all to arbitrators.


33.    Vague and conclusory statements are insufficient, e.g. statements by a plaintiff that paying

“anything above” the cost to litigate would cause him financial hardship, or attorney statements

about arbitration costs being “astronomically higher” while litigation cost would be “minimal.”

Shattenkirk, 669 S.W.3d at 397; Lennar Homes, --- S.W.3d at 4. Plaintiff must provide concrete

evidence of what costs for the case sub judice likely will be, and do so in such a way that the court

can compare the plaintiff’s ability to pay with those likely costs. Lennar Homes, --- S.W.3d at 4.

Without that, a plaintiff “cannot show that those costs are what make the expense of arbitrating

‘prohibitive.’” Id. “[M]aking the required showing entails presenting more than evidence of the

‘risk’ of incurring excessive costs; it requires ‘specific evidence that a party will actually be

charged excessive arbitration fees.’” Shattenkirk, 669 S.W.3d at 395 (quoting In re U.S. Home

Corp., 236 S.W.3d 761, 764 (Tex. 2007)).

34.    A plaintiff’s failure to make “any effort to reduce the likely charges through requests for

fee waivers, pro bono arbitrators, or even simply requesting a one arbitrator panel,” weighs heavily

against a finding of substantive unconscionability. In re Olshan, at 897; see also In re FirstMerit

Bank, N.A., 52 S.W.3d 749, 757 (Tex. 2001) (holding that the plaintiffs failed to present legally

sufficient evidence of unconscionability and noting that the AAA may defer or reduce fees in cases

of extreme hardship).

35.    Turning to the present facts, the parties’ arbitration clause is substantively valid and

enforceable because it allows the plaintiffs to file any individual claim available to him at law.

Def.’s Mot. Compel, Ex. A ¶ 15. It also places no limits on the remedies they can seek in


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arbitration. Def.’s Mot. Compel, Ex. A ¶ 15. Although JAMS streamlines discovery, Plaintiffs

have access to discovery mechanisms. Pl.’s Resp. Mot. Compel, Ex. A at 12-13. Costs are shared,

not shifted. This makes arbitration equal to litigation.

36.    As for the Plaintiff’s ability to pay, the plaintiffs appear capable of paying for arbitration

for at least two reasons. First, they were able to finance $42,735 in home improvements. Def.’s

Mot. Compel, Ex. A ¶2.

37.    Second, Plaintiffs appear capable of seeking out and retaining an attorney willing to take

the case on a contingency fee basis and pay the costs associated with pursuing the case. Now that

Plaintiffs’ counsel has agreed to take the case, the plaintiffs’ financial burden is no longer an issue.

Allowing Plaintiff’s attorney to invalidate the parties’ arbitration agreement to increase his profit

margin severely undermines the strong policies in favor of enforcing arbitration clauses.

38.    In the alternative, if we ignore the contingency nature of Plaintiff’s representation, the

plaintiff has admitted that he cannot afford to litigate the matter, in any event, as required by

Lennar Homes of Texas. --- S.W.3d ---- , 2-3 (2024) (2024 WL 1470909) (citing Shattenkirk, 669

S.W.3d at 397). The upshot in that event is that arbitration is no better or worse than litigation

because the plaintiff cannot afford either.

39.    There is no substantial cost difference between arbitration and litigation. The scope of the

cost inquiry is limited to the cost of deciding arbitrability. As Plaintiff has not submitted evidence

limited to that scope and the burden is on him to produce such evidence, the parties should be

compelled to arbitration.

40.    Plaintiff overestimates the cost of deciding the entire case as well, because he “assume[s]

the most expensive possible scenario,” an assumption specifically rejected by the Texas Supreme

Court. Olshan, 328 S.W.3d at 897. A final arbitration hearing of this case would likely not take



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more than one day. Ex. C. The arbitrator’s rate will likely be between $400.00 and $450.00 per

hour. One of the most cost-effective aspects of arbitration–saving discovery costs. Ex. C. JAMS

rules greatly simplify discovery compared to litigation, resulting in significant savings. Ex. C.

41.    In addition, Plaintiffs have failed to present the kind of specific facts required to support

their argument on costs. Their affidavit includes conclusory statements about “not being able to

pay” and not having “disposable income.” Compl.; Pl.’s Resp. Mot. Compel, Ex. E. Such

statements are insufficient as a matter of law.

42.    There is also no evidence the Plaintiff has made, “any effort to reduce the likely charges

through requests for fee waivers, pro bono arbitrators, or even simply requesting a one arbitrator

panel.” This compounds the lack of specific evidence of his financial resources.

43.    Lastly, and most obviously, the amount in controversy far outstrips the cost of arbitration.

Plaintiff is asking for up to $1,000,000, including a claim for punitive damages.

44.    The facts of the present case and those in Cont'l Homes of Tex., L.P. v. Perez differ in

several important respects, making it a poor precedent for the current analysis. No. 04-21-00396-

CV, 2022 WL 10758697, 2022 Tex. App. LEXIS 7691, at *9-15 (Tex. App.—San Antonio Oct.

19, 2022, no pet.). First, the plaintiffs in Cont'l Homes submitted specific budget information in

support of their opposition to arbitration. 04-21-00396-CV, 2022 WL 10758697, 2022 Tex. App.

LEXIS 7691, at *4-5. The Plaintiffs here have submitted no specific facts in support of their

opposition, only conclusory statements. Second, the Cont'l Homes arbitration would have been

decided by a panel of three arbitrators, significantly driving up costs. 04-21-00396-CV, 2022 WL

10758697, 2022 Tex. App. LEXIS 7691, at *4. The parties’ agreement here specifically states that

disputes will be decided by a single arbitrator. Def.’s Mot. Compel, Ex. A ¶ 15. Third, Cont'l

Homes did not consider the cost savings available in arbitration as a result of the simplified



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 discovery process. These differences coupled with the fact that the case was being reviewed for

 abuse of discretion leave this court free to make its own decision based on the totality of the facts

 sub judice.


IV.       THE PARTIES’ ARBITRATION CLAUSE IS PROCEDURALLY VALID
          BECAUSE THE PLAINTIFFS WERE GIVEN A SPANISH TRANSLATION, THE
          ARBITRATION CLAUSE WAS CONSPICUOUS, AND NO FACTS ARE
          BEFORE THE COURT THAT THE DEFENDANT MISREPRESENTED THE
          ARBITRATION CLAUSE ITSELF.

 45.      Procedural unconscionability focuses the circumstances surrounding the adoption of the

 arbitration agreement. See Royston, 467 S.W.3d at 499; Ridge Nat. Res., L.L.C. v. Double Eagle

 Royalty, L.P., 564 S.W.3d 105, 132 (Tex. App.--El Paso 2018); Delfingen US-Tex., L.P. v.

 Valenzuela, 407 S.W.3d 791, 797-98 (Tex. App.--El Paso 2013, no pet.) (agreement not enforced).

 Procedural unconscionability only apples if the circumstances surrounding the adoption of the

 arbitration agreement are shocking. Delfingen, 407 S.W.3d at 798; Brackenridge Healthcare, Inc.

 v. Camero, No. 04-22-00271-CV, 2023 WL 3107064, at *3 (Tex. App.--San Antonio Apr. 27,

 2023). “The few cases in which courts have found procedural unconscionability involve situations

 in which one of the parties was incapable of understanding the agreement without assistance, and

 the other party did not provide that assistance,” such as when one of the parties is functionally

 illiterate or does not speak English and were not provided a Spanish translation of the clause.

 Superbag Operating Co. v. Sanchez, No. 01-12-00342-CV, 2013 WL 396247, at *6 (Tex. App.

 Jan. 31, 2013); BBVA Compass Inv. Sols., Inc. v. Brooks, 456 S.W.3d 711, 724 (Tex. App.—Fort

 Worth 2015, no pet.). That said, one party to an arbitration provision has no general duty to explain

 the provision to the other party. See Emerald Texas, Inc. v. Peel, 920 S.W.2d 398, 401 (Tex. App.-

 -Hous. [1st Dist.] 1996) (“a failure to disclose information is not fraudulent unless one has an

 affirmative duty to disclose, such as where a confidential or fiduciary relationship exists.”).

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46.    “[A] party to an arms-length transaction is charged with the obligation of reading what he

signs and, failing that, may not, thereafter, without a showing of trickery or artifice, avoid the

instrument on the ground that he did not know what he was signing.” Micocina, Ltd. v. Balderas-

Villanueva, 2017 WL 4857017, at *5 (quoting Thigpen v. Locke, 363 S.W.2d 247, 251 (Tex.

1962)). “If a person is unable to read a contract, it is his duty to find some reliable person to read

and explain it to him before he signs it.” Id., at *6; Brackenridge Healthcare, Inc. v. Camero, No.

04-22-00271-CV, 2023 WL 3107064, at *5 (Tex. App.--San Antonio Apr. 27, 2023). Even a

situation in which the plaintiff swore out an affidavit that he “(1) was not given time to review

them; (2) was not informed of their contents; and (3) did not remember signing the MAA,” the

court found no evidence of affirmative misrepresentation, trick, or avarice. ReadyOne Indus., Inc.

v. Casillas, 487 S.W.3d 254, 262 (Tex. App. 2015).

47.    “[T]estimony that a party is unsophisticated, or that [he] would not have signed the

arbitration agreement if the concept of arbitration had been explained to [him] does not establish

procedural unconscionability.” H-E-B, LP v. Saenz, No. 01-20-00850-CV, 2021 WL 4733460, at

*4 (Tex. App.—Houston [1st Dist.] Oct. 12. 2021, pet. denied). An arbitration provision is not

unconscionable “because one party to the agreement may have been in a less advantageous

bargaining position.” In re Palm Harbor Homes, Inc., 195 S.W.3d at 679 (recognizing that parties

claiming they were unsophisticated persons, who would not have signed the arbitration agreement

if the concept of arbitration had been explained to them, failed to establish procedural

unconscionability); Brackenridge Healthcare, Inc. v. Camero, No. 04-22-00271-CV, 2023 WL

3107064, at *3 (Tex. App.--San Antonio Apr. 27, 2023).

48.    Absent fraud, misrepresentation, or deceit, one who signs a contract is deemed to know

and understand its contents and is bound by its terms. Royston, Rayzor, 467 S.W.3d at 500; In re


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Bank of Am., N.A., 278 S.W.3d 342, 344–45 (Tex. 2009) (orig. proceeding); Nichols Ford, Ltd. v.

Garza, No. 02-20-00191-CV, 2021 WL 3931916, at *4 (Tex. App.--Fort Worth Sept. 2, 2021).

49.    “[W]hen [an] arbitration provision in an agreement is conspicuous, a party may not avoid

its effect by asserting that he did not notice the provision or that it was not pointed out to him.”

Beldon Roofing & Remodeling Co. v. Tanner, No. 04-97-00071-CV, 1997 WL 280482, at *2

(Tex.App.-San Antonio May 28, 1997, orig. proceeding) (per curiam) (not designated for

publication); In re MHI Partn., Ltd., No. 14-07-00851-CV, 2008 WL 2262157, at *4 (Tex. App.-

-Hous. [14th Dist.] May 29, 2008).

50.    Questions related to the validity or enforceability of the broader “container” contract–such

as fraudulent inducement–are no evidence of procedural unconscionability of the arbitration

agreement. See Darling Homes of Texas, LLC v. Khoury, No. 01-20-00395-CV, 2021 WL

1918772, at *6 (Tex. App.--Hous. [1st Dist.] May 13, 2021); RSL Funding, 569 S.W.3d at 124;

Perry Homes, 258 S.W.3d at 589. Such allegations relate to the contract as a whole, and are

questions for the arbitrator, not the court. See Darling Homes of Texas, LLC v. Khoury, No. 01-

20-00395-CV, 2021 WL 1918772, at *6 (Tex. App.--Hous. [1st Dist.] May 13, 2021); RSL

Funding, 569 S.W.3d at 124; Perry Homes, 258 S.W.3d at 589.

51.    Courts readily conclude that plaintiffs understood an arbitration provision where the

plaintiffs did not ask questions, did not request any explanations, and did not indicate they were

uneducated/illiterate, particularly where the defendant never concealed or misstated the terms of

the arbitration provision. In re Rangel, 45 S.W.3d 783, 787 (Tex. App.--Waco 2001).

52.    “One party's refusal to contract with another absent an arbitration provision does not

establish procedural unconscionability.” In re MHI Partn., Ltd., No. 14-07-00851-CV, 2008 WL

2262157, at *3 (Tex. App.--Hous. [14th Dist.] May 29, 2008); In re U.S. Home Corp., 236 S.W.3d

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761, 764 (Tex.2007) (orig.proceeding) (per curiam); see also In re Halliburton Co., 80 S.W.3d at

572 (arbitration provision not procedurally unconscionable because employer made “take it or

leave it” offer to at-will employee).

53.     Turning to the present facts, Plaintiffs have presented no facts related to the arbitration

agreement specifically. None in the Complaint, none in the response, and none in the affidavit.

Compl.; Pl.’s Resp. Mot. Compel, Ex. E. Plaintiffs have only presented facts related to the

circumstances of the larger “container” agreement, and consequently, entirely fail their burden of

proof as a matter of law.

54.     There is no evidence that Defendant hid the arbitration agreement, or misrepresented any

aspect of it. In fact, the first paragraph of the arbitration agreement is conspicuously in all capitals

and admonishes the Plaintiffs to “PLEASE READ THIS SECTION CAREFULLY.” Def.’s Mot.

Compel, Ex. A ¶ 15.

55.     There is no indication that the Plaintiffs were functionally illiterate, was infirm from age,

or is otherwise unsophisticated. Thus, Defendant had no duty to explain the provision to Plaintiffs.

The law charges the plaintiff with “the obligation of reading what he signs and, failing that, [he]

may not, thereafter,... avoid the instrument on the ground that he did not know what he was

signing.” Micocina, 2017 WL 4857017, at *5 (quoting Thigpen v. Locke, 363 S.W.2d 247, 251

(Tex. 1962)). It does not matter if he “would not have signed the arbitration agreement if the

concept of arbitration had been explained to [him]....” Saenz, No. 01-20-00850-CV, 2021 WL

4733460, at *4 (Tex. App.—Houston [1st Dist.] Oct. 12. 2021, pet. denied).

56.     The court can readily conclude that Plaintiffs understood the arbitration provision because

they did not ask questions, did not request any explanations, and did not indicate they were

uneducated or illiterate, In re Rangel, 45 S.W.3d at 787.

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57.      Lastly, Plaintiffs were presented with a Spanish translation of the Agreement before

signing. A true and correct copy of the Affidavit of Isaac Hernandez is attached hereto as Exhibit

D.



                                         II. PRAYER

         WHEREFORE, PREMISES CONSIDERED, Equisolar prays the Court grant its motion to

compel arbitration, and for such other and further relief, both general and special, at law or in

equity, to which it may show to be justly entitled.


Dated: May 20, 2024.                          Respectfully submitted,

                                              By: /s/ Lema Mousilli
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                                 CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing document has been served on
all counsel of record, pursuant to the District’s ECF service rules on May 20, 2024, via electronic
filing system on the following:

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